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 5   Counsel to Former Receiver, Sherwood
     Partners, Inc.
 6

 7
                         UNITED STATES DISTRICT COURT
 8
                      NORTHERN DISTRICT OF CALIFORNIA
 9
10   SECURITIES AND EXCHANGE        )             Case No. 3:16-cv-1386
     COMMISSION,                    )
11                                  )             FORMER RECEIVER’S
          Plaintiff,                )             ADMINISTRATIVE
12                                  )             APPLICATION FOR AN
                v.                  )             ORDER PURSUANT TO
13                                  )             LOCAL RULE 7-11 FOR THE
     JOHN B. BIVONA; SADDLE RIVER   )             APPROVAL OF FEES FOR
14   ADVISERS, LLC; SRA MANAGEMENT )              THE PERIOD JANURARY 1
     ASSOCIATES, LLC; FRANK GREGORY )             TO MARCH 31, 2019, FOR
15   MAZZOLA                        )             THE FORMER RECEIVER
                                    )             AND COUNSEL
16        Defendants.               )
                                    )             Date: June 27,2019
17                                  )             Time: 1:30 PM
                                                  Courtroom: 5
18                                                Judge: Edward M. Chen
19

20

21
            APPLICATION FOR PAYMENT OF FORMER RECEIVER AND ITS
22
            COUNSEL’S FEES
23
            I. Background
24
            On October 11, 2016, this Honorable Court issued an Order of
25
     Appointment of Receiver (the “Order”) and thereby appointed Sherwood
26
     Partners, Inc. (“Sherwood”) as Receiver in this matter. However, as the
27
     Court is aware, on February 28, 2019, it substituted the new Receiver,
28
     Kathy Phelps Esq., for Sherwood. The previous Order also appointed John
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 1   W. Cotton (“Cotton”) of Gartenberg, Gelfand & Hayton LLP as Counsel to
 2   the now former Receiver, Sherwood. Previously, Sherwood and its
 3   counsel submitted interim applications for fees and expenses for the time
 4   periods October 11, 2016, to March 31, 2017 (See: Docket Nos. 207 and
 5   215, First Quarterly Fee Application filed on July 13, 2017, and approved
 6   on July 25, 2017 and August 11, 2017); April 1 to June 30, 2017 (See:
 7   Docket No. 275, Second Quarterly Fee Application filed on October 19,
 8   2017 and approved, but with a 20% holdback for Sherwood on both the
 9   first (retroactive) and second fee applications, on November 16, 2017);
10   July 1 to September 30, 2017 (See: Docket No. 303,Third Quarterly Fee
11   Application, filed on December 26, 2017 and approved by the Court on
12   January 25, 2018); October 1 to December 31,2017 (See: Docket No. 315,
13   Fourth Quarterly Fee Application, approved by the Court on March 13,
14   2018); January 1 to March 31, 2018 (See: Docket No. 387, Fifth Quarterly
15   Fee Application, approved by the Court on August 2, 2018, but with an
16   additional hold-back of 10% or $7,507) and April 1 to June 30, 2018 (See:
17   Docket No. 413, Sixth Quarterly Fee Application, approved by the Court on
18   October 23, 2018, but with an additional hold-back of 50% or $35,888.58);
19   the Seventh Quarterly Fee Application, July 1 to September 30, 2018,
20   approved by the Court on December 13, 2018, but with an additional hold-
21   back of 30% or $21,256.01, and October 1 to December 31, 2018, the
22   Eighth Quarterly Fee Application filed on April 12, 2019 and approved by
23   the Court on April 25, 2018, with an additional holdback of 20% or
24   $7,068.39
25        The total fees and expenses of the Sherwood approved by the Court to
26   date total $717,715.92 1 and the total fees and expenses of the former
27
     1
28    This amount is exclusive of the amount paid to Sherwood for work performed
     during the period March to October, 2016, $203,925.53, when it acted as
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 1   Receiver’s counsel approved by the Court and paid to date are
 2   $256,232.22 . The total fees and expenses of Sherwood being requested in
 3   this Ninth Quarterly Application (the “Application”) are
 4   $17,716.14, as set forth in Sec. II below. The total fees and expenses of the
 5   Sherwood’s counsel requested in this Application are $6,315.00, as set
 6   forth in Sec. III below.
 7          In this Application, Sherwood through Georgiana Nertea (“Nertea”),
 8   requests that this Court approve its Ninth Quarterly fees and expenses as
 9   well as that of its Counsel, for the time period January 1 to and including
10   March 31, 2019. The Application consists of the accompanying Declaration
11   of Nertea, the time records of Sherwood (Exhibit A to the Declaration of
12   Nertea), a narrative of the work performed by Sherwood (Exhibit B to the
13   Declaration of Nertea) and the SEC’s Standard Fund Accounting Report
14   (“SFAR”, Exhibit C to the Declaration of Nertea). The former Receiver also
15   requests approval for the fees of its counsel, John W. Cotton for the same
16   time period. The Declaration of John W. Cotton with accompanying billing
17   statements from his firm (Exhibit A to the Declaration of Cotton) also
18   accompanies this Application.
19          II. The Fee Application of Sherwood
20                As the Declaration of Nertea sets forth, the interim period for
21   which it makes this Application is January 1, 2019 to and including March
22   31, 2019. During this time period, the personnel who worked on this
23   matter, and their discounted hourly rates include Georgiana Nertea (at a
24   $295 regular billing rate and a $195 reduced billing rate). Sherwood’s total
25   charge for time and disbursements in this interim fee request is
26
27   Independent Monitor. The Court ordered holdbacks to the former Receiver’s
28   approved fee applications, which currently total $144,627.51 and have not been
     paid to the former Receiver.
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 1   $17,716.14. . This represents a total of 59.80 hours, or 19.9 hours per
 2   month. Nertea Decl. at ¶ 3.
 3          Sherwood has applied a 15% reduction to its standard rate. Nertea
 4   Decl., at ¶ 3. Nertea has personally reviewed all the time spent by
 5   Sherwood personnel on Receivership tasks and has attested to the
 6   accuracy and appropriateness of the time billed and has set forth the
 7   major work categories in which time was spent. Nertea Decl., at ¶4.
 8   Finally, Nertea has prepared the required SEC Standard Fund Accounting
 9   Report, or “SFAR”, for the period of January 1 to February 28, 2019. Nertea
10   Decl., at ¶ 5.
11          Nertea has broken down the total billed hours to the following
12   organized task categories: Asset management (0.0 hours); Investor and
13   Creditor relations (.90 hours); Investors’ Group Communications (0.0 hours)
14   Records Management (0.70 hours); Case Support and Administration
15   (54.40 hours); SEC support (3.00 hours); Claims and litigation (.80 hours);
16   Solis Funds Associates, LLC (0.0 hours); and Tax Related Matters (0.0
17   hours) Nertea Decl., at ¶ 4.
18          III. The Fee Application of Sherwood’s Counsel
19          As the Declaration of John Cotton of Gartenberg, Gelfand & Hayton
20   (“GG&H”) sets forth, the period for which it makes its Ninth interim fee
21   application is January 1 to and including March 31, 2019. All the time
22   spent on Receivership legal matters were undertaken by Cotton alone, at a
23   reduced billing rate of $450 an hour. GG &H’s total charge for time
24   ($5,940.00) and disbursements ($375) in this Application is $6,315.00.
25   This represents a total of 13.20 hours, or 4.40 hours per month. Cotton
26   Decl. at ¶ 3. GG & H has applied a 15% courtesy reduction to its standard
27   rate and has only used personnel appropriate to the level of work being
28   undertaken. Cotton Decl., at ¶ 3. Cotton has personally reviewed all the
                                              4
        FORMER RECEIVER’S (NINTH) INTERIM QUARTERLY APPLICATION FOR THE PAYMENT OF FEES
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 1   time spent on Receivership tasks and has attested to the accuracy and
 2   appropriateness of the time billed and has set forth the major work
 3   categories in which time was spent. Cotton Decl. at ¶ ¶4 to 6.
 4                During the time period of this Application, the work performed
 5    by Cotton consisted of the following work categories: responding to and
 6    advising the Receiver (3.7 hours); responding to and meeting with the
 7    SEC concerning SRA IG investor group concerns and the Joint Plan of
 8    Distribution (2.7 hours); review, preparation of and filing court
 9    documents (3.1 hours); responding to and attending investor and
10    Defendants’ counsel calls and related questions (.80 hours); and handling
11    issues and communications regarding Estate investments: Mongo DB,
12    EAC, Practice Fusion, etc. (.50 hours) and communications with the new
13    Receiver (2.40) . Cotton Declaration at ¶ 4.
14

15          IV. The SEC Has Reviewed the Accompanying Fee Invoices
16                Sherwood and its counsel timely submitted their
17    accompanying fee applications to the Plaintiff SEC for its initial review in
18    April 2019. As a result of the foregoing, the SEC has indicated that it has
19    no objection to the fees now applied for in this Application, for either
20    Sherwood, or its counsel. Counsel for Sherwood has obtained the
21    approval of the newly appointed Receiver Kathy Phelps, Esq., and all
22    interested parties’ counsel to the use of L.R. 7-11 for this fee application
23    and none have stated any objection to this Application.
24          V. Conclusion
25          For the forgoing reasons, Sherwood and its counsel request that the
26   Court approve the Application for Ninth Quarterly Fees by signing the
27   attached Proposed Order.
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        FORMER RECEIVER’S (NINTH) INTERIM QUARTERLY APPLICATION FOR THE PAYMENT OF FEES
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 1
     Dated: June 11, 2019                      GARTENBERG GELFAND HAYTON
 2                                             LLP
 3
                                        By:    /s/ John W. Cotton
 4                                             John W. Cotton
 5                                             Counsel to the Receiver
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        FORMER RECEIVER’S (NINTH) INTERIM QUARTERLY APPLICATION FOR THE PAYMENT OF FEES
